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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 17, 2024:


         MINUTE entry before the Honorable Andrea R. Wood: The Court has reviewed
the parties' joint status report [34] and declines to set a status hearing at this time. By
4/16/2024, the parties shall file a further joint status report updating the Court on the
status of the related criminal matter and whether any party desires a modification or lifting
of the stay. The status report shall also state whether any party desires a status hearing
and, if so, what matters they would like to discuss with the Court. Mailed notice (lma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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